     Case 2:15-cv-00323-WHA-GMB       Document 80     Filed 09/12/16   Page 1 of 9




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

JOSE A. TRINIDAD                           §
                                           §
       Plaintiff,                          §
v.                                         § CASE NO. 2:15-CV-323-WHA-TFM
                                           §
DANIEL JOE MOORE, JR. and                  §
RDB TRUCKING, LLC,                         §
                                           §
       Defendants.                         §

                           Plaintiff’s Motions in Limine

       Plaintiff Jose Trinidad moves the Court to order, before voir dire, that (1)
Defendants’ attorneys, and through them, any and all witnesses called for
Defendants, refrain from commenting on, mentioning, communicating, publishing,
or attempting to introduce evidence of, directly or indirectly, the matters in this
Motion; and (2) Defendants’ attorneys instruct their witnesses not to volunteer,
inject, disclose, state, or mention the matters in this Motion in the presence of the
jury, unless and until specifically questioned thereon. Plaintiff asks the Court to
order that, if Defendants’ attorneys intend to offer evidence of the matters in this
Motion, they must first obtain a favorable ruling from the Court outside the presence
and hearing of all prospective jurors and the jurors ultimately selected in this civil
action.

       In support of this Motion, Plaintiff shows as follows:

                                         A.

       The matters in this motion are inadmissible for any purpose on proper and
timely objection because they are not relevant to the issue in this case or the rights
of the parties. The matters in this Motion will not have any tendency to make the
existence of any material fact more probable or less probable than it would be
without the evidence. See FED. R. EVID. 401 and 402. Permitting interrogation of
the witnesses, comments to the jurors, or offers of evidence on the matters in this
Motion is substantially outweighed by the harm to Plaintiff. Instead, it would draw
the jury’s attention to the prejudicial impact. See FED. R. EVID. 101 & 103(c). If
     Case 2:15-cv-00323-WHA-GMB       Document 80     Filed 09/12/16    Page 2 of 9




Defendants inject the matters in this Motion into this trial through a party, and
attorney or a witness, Defendants will cause irreparable harm to Plaintiff, which no
jury instruction would cure. If any of the matters in this Motion are brought to the
attention of the jury, directly or indirectly, Plaintiff would be forced to move for a
mistrial. To avoid prejudice and a possible mistrial, Plaintiff asks the Court to grant
his Motion in Limine.

                                          B.



       The following matters are the subject of this Motion in Limine:



1)     The parties’ settlement negotiations or Plaintiff’s offers of settlement. Offers
       to compromise and statements made in comprise negotiations are
       inadmissible. See FED. R. EVID. 408. The probative value of this evidence is
       substantially outweighed by the danger of unfair prejudice, confusion of the
       issues, and misleading the jury. See FED. R. EVID. 408.



       ___________        ____________         _____________      _____________

       Agreed             Granted              Modified           Denied



2)     References to persons or the purported testimony of persons who have not
       been properly and timely disclosed in Defendants’ responses to Plaintiff’s
       written discovery and in Defendants’ Rule 26 disclosures. See FED. R. CIV. P.
       37; FED. R. EVID. 802 AND 804.



       ____________       ____________         _____________      _____________

       Agreed             Granted              Modified           Denied
     Case 2:15-cv-00323-WHA-GMB        Document 80     Filed 09/12/16   Page 3 of 9




3)     References or attempting to introduce documents or tangible things or the
       contents of documents or tangible things that have not been properly and
       timely produced or made available to Plaintiff in Defendants’ Rule 26
       disclosures or in Defendants’ responses to Plaintiff’s written discovery. See
       FED. R. CIV. P. 37.



       ____________        ____________        _____________       _____________

       Agreed              Granted             Modified            Denied



4)     References to experts or the purported testimony of any expert who has not
       been identified or whose status as an expert has not been disclosed to Plaintiff.
       See FED. R. CIV. P. 37; Alldread v. City of Grenada, 988 F.2d. 1425, 1435-36
       (5th Cir. 1993).



       ____________        ____________        _____________       _____________

       Agreed              Granted             Modified            Denied



5)     Expert-witness opinions that have not been disclosed to Plaintiff or are
       otherwise outside the scope of the expert’s written opinion produced during
       pretrial discovery. See FED. R. CIV. P. 37; Alldread v. City of Grenada, 988
       F.2d 1425, 1435-36 (5th Cir. 1993); Thudium v. Allied Products Corp. 36 F.3d
       797, 769-70 (8th Cir. 1994).



       ____________        ____________        _____________       _____________

       Agreed              Granted             Modified            Denied
     Case 2:15-cv-00323-WHA-GMB      Document 80     Filed 09/12/16   Page 4 of 9




6)     References or questioning that suggest or implies that Plaintiff or his expert
       witnesses, relatives, agents, employees, attorneys, or representatives have
       been accused of, or have been found guilty of, any crimes or criminal conduct.
       See FED. R. EVID. 402, 403, 404, 608, and 609. U.S. v. Carter, 528 F.2d 844,
       846-47 (8th Cir. 1975).



       ____________       ____________       _____________       _____________

       Agreed             Granted            Modified            Denied



7)     That Defendants be prohibited from making any reference to, mentioning,
       eliciting testimony, or offering any evidence relating to Plaintiff or any of
       Plaintiff’s witnesses prior marriages or past romantic relationships. Such
       matters are not relevant and would be offered only for the impermissible
       purpose of portraying Plaintiff or Plaintiff’s witnesses as a bad person. FED.
       R. EVID. 402, 403, 404, 406, and 609.



       ____________       ____________       _____________       _____________

       Agreed             Granted            Modified            Denied



8)     Any reference to the fact that Plaintiff receives any benefits from any
       collateral source.



       ____________       ____________       _____________       _____________

       Agreed             Granted            Modified            Denied



9)     References, questioning or argument that suggest or implies that Plaintiff or
       his expert witnesses, relatives, agents, employees, attorneys, or
      Case 2:15-cv-00323-WHA-GMB        Document 80      Filed 09/12/16   Page 5 of 9




        representatives have failed to report income to the Internal Revenue Service
        or any other agency responsible for the assessment and collection of taxes or
        have not filed state or federal income tax returns in the past. See FED. R. EVID.
        402, 403, and 404.



        ____________        ____________        _____________        _____________

        Agreed              Granted             Modified             Denied



10)     References to or questioning about what effect the verdict or judgment in this
        lawsuit will or could have on insurance rates, premiums or charges. See FED.
        R. EVID. 402 and 403.



        ____________        ____________        _____________        _____________

        Agreed              Granted             Modified             Denied



11)     That Defendants not make reference to, mention, elicit, testimony, or present
        evidence of any prior lawsuits, claims, workers’ compensation claims,
        disability claims, unemployment claims, or any similar claims made by or on
        behalf of Plaintiff. There is no evidence or allegation that those claims, if any,
        contributed in any way to the occurrence made the basis of this suit or are
        relevant to the determination of any issue in this suit. Furthermore, the
        probative value of those matters is substantially outweighed by the danger of
        unfair prejudice, confusion of the issues, and misleading the jury. This type
        of evidence would only be offered for the impermissible purpose of portraying
        Plaintiff as a bad person. See FED. R. EVID. 404, 608(b), and 609(a).



        ____________        ____________        _____________        _____________

        Agreed              Granted             Modified             Denied
      Case 2:15-cv-00323-WHA-GMB        Document 80     Filed 09/12/16   Page 6 of 9




12)     That Defendants be prohibited from claiming or stating that the nation’s court
        systems are overloaded due to cases such as this or similar cases or references
        or statements like “there are too many lawsuits” or “too much litigation.”
        References of this nature are irrelevant and prejudicial. These matters are
        generally inadmissible, irrelevant and prejudicial to Plaintiff’s right to a fair
        and impartial trial. If relevant and/or admissible, the probation value of any
        such matter would be greatly outweighed by the danger of unfair prejudice,
        confusion of the issues, and/or misleading the jury. FED. R. EVID. 401, 402,
        and 403.



        ____________        ____________        _____________       _____________

        Agreed              Granted             Modified            Denied



13)     That if the Defendants feel any area which is covered by this Motion in Limine
        or any areas which by their nature are not admissible under the Rules of
        Evidence or Rules of Civil Procedure such as privileged communications,
        collateral source, prior settlement offer, etc. or that if the Defendants feel “a
        door has been opened,” that they must, before saying or presenting or
        exhibiting anything in the jury’s presence regarding same, that they approach
        the bench and make inquiry side bar without the jury being able to hear same
        in a voice designed so that the jury will not hear same. This particular limine
        subpart is to be followed regardless of the time of the trial, including
        arguments.



        ____________        ____________        _____________       _____________

        Agreed              Granted             Modified            Denied
      Case 2:15-cv-00323-WHA-GMB        Document 80      Filed 09/12/16   Page 7 of 9




14)     That Defendants be prohibited from making any reference to the jury that
        anyone can “pay some money and make up a lawsuit against another without
        any legal basis” trying to imply that this lawsuit is “frivolous” or “without
        merit.” Proper remedies and procedures of summary judgments, counter
        claims, dismissal for failing to state a claim upon which relief can be granted,
        etc. were all available to the Defendants. FED. R. EVID. 402 and 403.



        ____________        ____________        _____________        _____________

        Agreed              Granted             Modified             Denied



15)     Any reference to or introduction of any social media information or activity
        concerning Plaintiff or any of Plaintiff’s witnesses. Such information is not
        relevant to the issues being tried, it is based on hearsay, and will only serve to
        confuse the jury. In addition, such information is prejudicial and would have
        no probative value.




        ____________        ____________        _____________        _____________

        Agreed              Granted             Modified             Denied



16)     That Defendants be prohibited from making any reference to any child support
        obligation of Plaintiff, including the status of child support payments. FED.
        R. EVID. 402 and 403.



        ____________        ____________        _____________        _____________

        Agreed              Granted             Modified             Denied
      Case 2:15-cv-00323-WHA-GMB        Document 80      Filed 09/12/16   Page 8 of 9




17)     That Defendants be prohibited from making any reference to any loans that
        Plaintiff obtained after his injuries. Such loans are not only protected by the
        attorney-client privilege, they are irrelevant to this issues being tried, and are
        at least more prejudicial than probative. FED. R. EVID. 402 and 403.



        ____________        ____________        _____________        _____________

        Agreed              Granted             Modified             Denied



WHEREFORE, premises considered, Plaintiff moves this Court to order, before
voir dire, that (1) Defendants’ attorneys and, through them, any and all witnesses
called for Defendants, refrain from commenting on, mentioning, communicating,
publishing, or attempting to introduce evidence of, directly or indirectly, the
matters in this Motion, without first obtaining a favorable ruling from the Court
outside the presence and hearing of all jurors or prospective jurors; and (2)
Defendant’s attorneys instruct their witnesses not to volunteer, inject, disclose,
state, or mention the matters in this Motion in the presence of the jury, unless and
until specifically questioned thereon.


                                                Respectfully submitted,

                                                ARNOLD & ITKIN LLP

                                                /s/ Cesar Tavares

                                                Cesar Tavares
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                                                Counsel for Plaintiff, Jose Trinidad
   Case 2:15-cv-00323-WHA-GMB           Document 80      Filed 09/12/16    Page 9 of 9




                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and foregoing document has
been forwarded to all counsel of record in accordance with the Federal Rules of Civil
Procedure on this 12th day of September, 2016.

      Andrew J. Sinor, Jr.
      Mardi Thompson Huggins
      Hand Arendall, LLC
      2001 Pak Place North, Suite 1200
      Birmingham, Alabama 35203
            Counsel for Defendant RDB Trucking, LLC

                                                /s/ Cesar Tavares
                                                ____________________________
                                                Cesar Tavares
